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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
V.                                         §
                                           §         No. 3:19-cr-312-S (01)
ALFREDO NAVARRO HINOJOSA                   §
                                           §
             Defendant.                    §

       MEMORANDUM OPINION AND ORDER DENYING WITHOUT
         PREJUDICE GOVERNMENT’S MOTION TO COMPEL

      On September 8, 2019, the government moved to compel Defendant Alfredo

Navarro Hinojosa to produce a statement made by Laura Hinojosa, his niece – a

statement that the government argues is in the possession of Defendant’s counsel. See

Dkt. No. 44. The presiding United States district judge referred the motion to compel

to the undersigned United States magistrate judge. See Dkt. No. 45. Defendant did not

file a response to the motion, and the deadline to do so has expired. See N.D. TEX. L.

CRIM. R. 47.1(e); FED. R. CRIM. P. 45(a)(1)(C).

      For the reasons explained below, the Court DENIES the motion without

prejudice.

      In this action, Defendant has been indicted for harboring of an illegal alien, his

brother and co-defendant, Augustin Hinojosa Navarro, in violation of 8 U.S.C. §

1324(a)(1)(A)(iii). See Dkt. No. 18. And the government argues that the statement it

moves to compel

      was evidence relied upon by the defense during the detention hearing and
      was explicitly read into the record by defense counsel.
            For purposes of context, it appears that the defense will argue, in
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      part, that Alfredo Navarro Hinojosa is not guilty of the crime for which
      he is charged in the instant case because it was Laura Hinojosa, and not
      Alfredo Navarro Hinojosa, who was providing Agustin Hinojosa Navarro
      with financial support. The quoted statement from Laura Hinojosa[ –
      read into the record at the detention hearing – ]states that Laura
      Hinojosa and her siblings knowingly provided financial support to their
      father (Agustin), who was a known illegal alien. This statement is
      therefore evidence with respect to both Alfredo Navarro Hinojosa as well
      as Laura Hinojosa, who is a target and a witness of the ongoing
      investigation.
             Presumably, the defense would utilize this evidence in its case-in
      chief and therefore discovery obligations apply to such evidence. But even
      if such obligations did not apply, the simple fact that the defense read it
      directly into the record requires its production.
             To the extent that the defense makes the argument that the
      statement was received orally and not in writing, then the government
      requests that the recording of the statement be ordered to be produced.
      If no recording was made, then the government requests that the court
      order the defense to produce the transcription of the statement, and then
      reviewed and adopted by Laura Hinojosa, and then read [in] Court.

Dkt. No. 44 at 3.

      Because the government fails to explicitly cite authority for its motion to compel,

the Court first examines certain fundamentals underlying criminal cases that restrict

the scope of discovery, as compared to the broader discovery allowed in civil actions.

See, e.g., Weatherford v. Bursey, 429 U.S. 545, 559-61 (1977) (“There is no general

constitutional right to discovery in a criminal case.”); citations omitted); Campbell v.

Eastland, 307 F.2d 478, 487 (5th Cir. 1962) (“While the Federal Rules of Civil

Procedure have provided a well-stocked battery of discovery procedures, the rules

governing criminal discovery are far more restrictive.” (citations omitted)).

      In civil cases, both sides are entitled in advance of trial to know and to
      respond to the evidence that will be presented by the other side, including
      any expert testimony. In criminal cases, the defendant is entitled to keep
      his cards close to the vest; he may not be required to disclose his evidence

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      or trial strategy until after the government has presented its case. These
      differences are reflected in the discovery rules.

United States v. Nacchio, 555 F.3d 1234, 1259-60 (10th Cir. 2009) (en banc)

(McConnell, J., dissenting); see also United States v. Mehta, 236 F. Supp. 2d 150, 155

(D. Mass. 2002) (“The difference between the civil and criminal rules derives from the

special constitutional constraints of criminal proceedings. Intuitively, discovery against

a criminal defendant raises the specter of infringing the Fifth Amendment privilege

against self-incrimination.” (footnote omitted)).

      In sum, in criminal cases, “neither side has a general right to discover the

other’s evidence, though the defendant is entitled to request and obtain certain specific

types of evidence from the prosecution.” Nacchio, 555 F.3d at 1260. And, as another

district court in this circuit has explained,

      the drafters of the Federal Rules did not provide for expansive discovery
      by the Government due to “constitutional limitations that are thought to
      restrict prosecutorial discovery.” 2 CHARLES ALAN WRIGHT, ET AL.,
      FEDERAL PRACTICE & PROCEDURE CRIMINAL § 255 (3d ed. 2007). Indeed,
      several courts have held that only these rules can impose the duty of
      disclosure on defendants, regardless of the authority of the judge. See
      United States v. Dailey, 155 F.R.D. 18, 21 (D.R.I. 1994) (holding that
      Federal Rules trumped local rules where local rule required automatic
      disclosure by both parties of evidence to be used at trial without any prior
      defendant request); United States v. Layton, 90 F.R.D. 520, 523 (N.D.
      Cal.1981) (“[T]here is no authority for the proposition that a court has
      inherent authority to compel a defendant to provide pretrial discovery
      which is not specifically authorized in Rule 16.”).

United States v. Impastato, 535 F. Supp. 2d 732, 742-43 (E.D. La. 2008).

      Here, the government’s motion raises the possibility that the statement it seeks

to compel could be used by Defendant in his case-in-chief “and therefore discovery


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obligations apply to such evidence.” Dkt. No. 44 at 3. Thus, as to pretrial discovery

specifically authorized by Federal Rule of Criminal Procedure 16, the government may

be arguing that the statement should be produced to it under a criminal defendant’s

reciprocal discovery obligation. See Mehata, 236 F. Supp. 2d at 155-56 (“While courts

have upheld the basic notion of reciprocal criminal discovery on the theory that a

defendant can waive the privilege in order to obtain discovery against the government,

some constitutional limitations surely remain.” (citing Wardius v. Oregon, 412 U.S.

470, 475 n.9 (1973) (“[T]he State’s inherent information-gathering advantages suggest

that if there is to be any imbalance in discovery rights, it should work in the

defendant’s favor.”); citation omitted)).

       But the government fails to explicitly state that Defendant’s reciprocal discovery

obligation has been triggered.

       While Rule 16(b)(1) “imposes a reciprocal discovery requirement between the

United States and a criminal defendant,” United States v. Crinel, Crim. A. No. 15-61,

2016 WL 5779778, at *1 (E.D. La. Oct. 4, 2016) (footnote omitted), “[a] defendant’s

obligation to provide reciprocal discovery is [not] triggered [until] the government

complies with the defendant’s request for disclosure of documents and objects under

Rule 16(a)(1)(E), reports under 16(a)(1)(F), or written summaries of any testimony by

expert witnesses under 16(a)(1)(G),” id.; see id. at *2 (“Once the reciprocal discovery

requirement is triggered, a defendant must produce discovery of 16(a)(1)(E) documents

and objects or 16(a)(1)(F) reports of examinations and tests if: ‘(i) the item is within the

defendant’s possession, custody, or control; and (ii) the defendant intends to use the

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item in the defendant’s case-in-chief at trial.’” (quoting FED. R. CRIM. P. 16(b)(1)(A);

FED. R. CRIM. P. 16(b)(1)(B)); see also United States v. Kilmartin, No. 1:14-cr-00129-

JAW, 2016 WL 6208379, at *2 (D. Me. Oct. 24, 2016) (“As the language of the Rule

suggests, the ‘reciprocal discovery’ rule is only triggered once a defendant requests

disclosures from the government and the government complies.” (citing FED. R CRIM.

P. 16(b)(1)(A); Dailey, 155 F.R.D. at 20)); United States v. Burke, No. 3:12-cr-315-D,

2015 WL 1931327, at *2-*3 (N.D. Tex. Apr. 29, 2015) (“Rule 16(b)(1)(A) provides that

the government is entitled to reciprocal discovery if a defendant requests disclosure

under Rule 16(a)(1) (E), and the government complies. Rule 16(b)(1)(B) provides that

the government is entitled to reciprocal discovery if the defendant requests disclosure

under Rule 16(a)(1)(F), and the government complies. ... [These provisions] condition

the government’s entitlement to reciprocal discovery on its compliance with a

defendant’s corresponding discovery requests, compliance in this context means

substantial compliance, not total compliance that is completely faultless.” (citing

United States v. Swenson, 298 F.R.D. 474, 475 (D. Idaho 2014); emphasis in original)).

      Therefore, absent a current legal basis to compel Defendant to provide the

statement the government seeks – that is apparent based on the record before the

Court – the motion [Dkt. No. 44] is DENIED without prejudice.

      SO ORDERED.

      DATED: September 24, 2019

                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE

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